Case 16-12903-JDW     Doc 65   Filed 09/08/17 Entered 09/08/17 16:18:32        Desc Main
                               Document     Page 1 of 2


_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________

             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                               CHAPTER 13 CASE NO.:

CASANDRA RILEY JEFFRIES                                         16-12903-JDW

    AGREED ORDER GRANTING IN PART MOTION TO DISMISS (Dkt. #61)

      THIS MATTER came before the Court on Trustee’s Motion to Dismiss (Dkt.

#61) (the “Motion”) and response thereto filed by the Debtor (Dkt. #62).          Upon

agreement of the parties,

      IT IS ORDERED that:

      1.     Trustee’s Motion shall be and is hereby granted in part.

      2.     The plan shall be and is hereby amended to fully pay the claim of the

Mississippi Department of Revenue (Clm. #27) in the amount of $144.90.

      3.     Within seven (7) days of entry of this Agreed Order, Debtor shall

amend her Statement of Financial Affairs to disclose her ownership or connection to

any business within the four years preceding the petition date.

      4.     During the pendency of this bankruptcy, Debtor shall file all state tax

returns relating to sales taxes which become due post-petition, subject to any

documented extension granted by the taxing authority.
Case 16-12903-JDW     Doc 65   Filed 09/08/17 Entered 09/08/17 16:18:32           Desc Main
                               Document     Page 2 of 2


      5.     During the pendency of this bankruptcy, Debtor shall timely pay all

required sales tax due contemporaneous with the filing of the return, subject to any

documented extension granted by the taxing authority.

      6.     Trustee may inquire with the Mississippi Department of Revenue

concerning the tax liabilities and obligations of Debtor.

      7.     For purposes of this order, the filing of a claim by the Mississippi

Department of Revenue for post-petition tax obligation(s), arising from sales tax due

shall be prima facia evidence of Debtor’s failure to file the required return and/or

pay the required tax as stated in the claim, unless an objection to such claim is filed

by Debtor within fourteen (14) days of the filing of such claim. If an objection is

timely filed then the determination of whether the required return was filed and/or

required tax paid shall be adjudicated through the timely filed objection.

      8.     Should the Debtor fail to comply with the terms of this order, this case

may be dismissed without further notice or hearing.

                                ##END OF ORDER##



AGREED & APPROVED:

/s/ W. Jeffrey Collier
W. JEFFREY COLLIER– MSB#10645
ATTORNEY FOR TRUSTEE

/s/ Robert H. Lomenick
ROBERT H. LOMENICK - MSB#104186
ATTORNEY FOR DEBTOR                                               Prepared by:
                                                                  W. Jeffrey Collier, Esq.
                                                                  Attorney for Trustee
                                                                  6360 I-55 North, Suite 140
                                                                  Jackson, Miss. 39211
                                                                  (601) 355-6661
                                                                  ssmith@barkley13.com
                                                                  MSB No. 10645
